276 F.2d 522
    Willie WILLIAMS, Appellant,v.UNITED STATES of America, Appellee.Estelle MURPHY, Appellant,v.UNITED STATES of America, Appellee.
    No. 15422.
    No. 15423.
    United States Court of Appeals District of Columbia Circuit.
    Argued February 29, 1960.
    Decided March 10, 1960.
    Petition for Rehearing Denied April 1, 1960.
    
      Mr. Howard D. Levine, Washington, D. C., with whom Messrs. George R. Jacobi and Alexander L. Benton, Washington, D. C., were on the brief, for appellants.
      Mr. Donald S. Smith, Asst. U. S. Atty., with whom Messrs. Oliver Gasch, U. S. Atty., and Carl W. Belcher, Asst. U. S. Atty., were on the brief, for appellee.
      Before WILBUR K. MILLER, FAHY and DANAHER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellants were convicted of violations of the narcotics laws, and on appeal charge that the police lacked probable cause to arrest and, in the night season, illegally broke into the dwelling they occupied. Assuming arguendo that the record before us adequately establishes the existence of probable cause for the arrest of the appellant Murphy, the circumstances otherwise do not justify the officers in breaking in and entering her house without a warrant of any kind. The subsequent search was, therefore, illegal. We must reverse because the convictions were obtained by the use of evidence thus secured. We find ourselves unable to distinguish the situation developed here from that considered in Miller v. United States, 1958, 357 U.S. 301, 78 S.Ct. 1190, 2 L.Ed.2d 1332, and see cases cited in Williams v. United States, 1959, 105 U.S.App.D.C. 41, 45, 263 F.2d 487, 491.
    
    
      2
      Reversed.
    
    